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 6    Representing the United States of America
 7
                           UNIT ED ST AT ES DIS T RICT CO URT
 8
                                 DISTRICT OF NEVADA
 9
      United States of America,                           Case No. 2:20-mj-141-BNW
10

11                               Plaintiff,               STIPULATION TO CONTINUE TRIAL
                  v.                                      (Second Request)
12
      HANSEL BITANGA LOPEZ,
13
                                 Defendant.
14

15           The government and Defendant Hansel Bitanga Lopez jointly request that the Court

16 continue the current trial date in this matter set for November 9, 2020, and set a new trial date of

17
     December 14, 2020 at 9:00 a.m.
18
             This Stipulation is entered into for the following reasons:
19
        1.   A witness for the government is unavailable on the current trial date due to performing
20
             military service.
21

22      2. Defendant is out of custody and does not object to the request for continuance.

23      3.    Additionally, denial of this request for continuance could result in a miscarriage of
24           justice.
25
        5.    The counts charged are Class B misdemeanors to which the Speedy Trial Act, Title 18,
26
     United States Code §§ 3161 et seq. does not apply.
27


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     This is the second request to continue trial date filed herein.
 1
     Dated: November 4, 2020.
 2

 3                                          Respectfully submitted,
                                            NICHOLAS A. TRUTANICH
 4                                          United States Attorney
 5                                                         /s/
 6                                          Rachel Kent
                                            Kimberly Sokolich
 7                                          Assistant United States Attorneys

 8

 9

10                                                        /s/
                                            Brian Pugh
11                                          Erin Gettel
                                            Counsel for Defendant Hansel Bitanga Lopez
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 8                       UNIT ED ST AT ES DIS T RICT CO URT
                               DISTRICT OF NEVADA
 9
      United States of America,                        Case No. 2:20-mj-141-BNW
10

11                          Plaintiff,                 ORDER ON STIPULATION TO
                   v.                                  CONTINUE TRIAL
12
      HANSEL BITANGA LOPEZ,
13

14                         Defendant.

15 Based on the pending stipulation of counsel, and good cause appearing therefore, the Court

16
     finds that:
17
        1. The defendant is out of custody and does not object to the continuance.
18
        2. The parties agree to the continuance.
19
        3. The counts charged are Class B misdemeanors to which the Speedy Trial Act, Title
20

21          18, United States Code §§ 3161 et seq. does not apply.

22 The trial date of November 9, 2020 is VACATED and RESET for December 14, 2020 at 9:00

23 a.m.

24
     IT IS SO ORDERED.
25
                                               _______________________________________
26                                             THE HONORABLE BRENDA WEKSLER
                                               United States Magistrate Judge
27


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